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 1. INTRODUCTION:




 2. DETAILS OF INVESTIGATION:
   On February 16, 2017, Federal search warrants were executed at Blackstone Labs, 1090 Holland Drive,
   Suites 1 and 2, Boca Raton, FL and at VBS Labs, 1140 Holland Drive, Suite 12, Boca Raton, FL.

   Several employees were present upon entry at both locations; however, the current president of
   Blackstone Labs, Phillip (PJ) Braun, was not present. The following employees were interviewed at
   Blackstone Labs: Richard (JR) Newton, Clayton Hodges, David Winsauer, James Boccuzzi, Christopher
   Herron, David Jimenez III, Matthew Rossi, and Salvina Vitale. Reference is made to the Memorandum of
   Interviews (MOI’s) submitted by various agents.

   The following employees were interviewed at VBS Laboratories: Matthew Mosier, Anthony Ventrella,
   Ashley Ventrella, Juan Moran, and Matthew Thomas. Reference is made to the MOI’s submitted by SA
   Stephanie Kirby.

   Several items were seized from Blackstone Labs and were inventoried on the following Inventory of
   Evidence (IE) forms: 16-0166-87402, 16-0166-97803, 16-0166-19169, 16-0166-14700, 16-0166-
   78799, and 16-166-74967. Items 1-4 and 8-13 listed on IE 16-0166-19169 were imaged and the
   imaged copy was placed on IE 16-0166-14574, along with items 5-7 which were transferred from IE
   16-0166-19169 to IE 16-0166-14574. Items 1-4 and 8-13 on IE 16-0166-19169 were returned to
   Salvina Vitale at Blackstone Labs on February 24, 2017.

   Several items were seized from VBS Labs and were inventoried on the following IE’s: 16-0166-83306,
   16-0166-69860, 16-0166-28053, and 16-0166-73900. Items 1-4 listed on IE 16-0166-73900 were
   imaged and the imaged copy was placed on IE 16-0166-70652, along with item 5 which was transferred
   from IE 16-0166-73900 to IE 16-0166-70652. Items 1-4 listed on IE 16-0166-73900 were returned to
   Anthony Ventrella at VBS Labs on February 22, 2017.

   Continuing on February 16, 2017, SA’s Michelle Ciolek, Brian Kriplean, and I attempted to interview
   Aaron Singerman at his current business, Redcon1 located at 1141 S. Rogers Circle, Suite 3, Boca
   Raton, FL. Singerman advised he did not wish to speak with agents without his attorney present.


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  3. JUDICIAL ACTION:
    N/A

  4. DISPOSITION OF EVIDENCE, CONTRABAND, AND PERSONAL PROPERTY:


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   IE #16-0166-87402: On February 16, 2017, all items (1-54) were obtained as a result of a search
   warrant and subsequently secured in the Miami Field Office evidence vault.

    IE #16-0166-97803: On February 16, 2017, all items (1-39) were obtained as a result of a search
   warrant and subsequently secured in the Miami Field Office evidence vault. On March 10, 2017, items 25
   and 26 were returned to Attorney Barney Brown for Blackstone Labs. On April 4, 2017, all remaining
   items were forwarded to CPB and subsequently sent to and received by the Document Analysis Center
   on April 11, 2017.

   IE #16-0166-74967: On February 16, 2017, all items (1-50) were obtained as a result of a search
   warrant and secured in the Miami Field Office evidence vault. On February 23, 2017, all items were
   forwarded to FCC for testing and analysis.

   IE #16-0166-78799: On February 16, 2017, all items (1-38) were obtained as a result of a search
   warrant and transferred to VSE.

   IE #16-0166-19169: On February 16, 2017, all items (1-13) were obtained as a result of a search
   warrant and secured in the Miami Field Office evidence vault.Continuing on February 16, 2017, items 5-7
   were transferred to IE #16-0166-14574. On February 24, 2017, items 1-4 and 8-13 were
   released/returned to Salvina Vitale on behalf of Blackstone Labs.

   IE # 16-0166-14574: On February 16, 2017, all items (1-3) are imaged copies created by SCERS
   agents of devices obtained as a result of a search warrant (items listed on IE# 16-0166-19169); items
   were maintained by SCERS agent S. Schillinger. On March 1, 2017, all items were secured in the Miami
   Field Office evidence vault.

   IE #16-0166-14700: On February 16, 2017, the item was obtained as a result of a search warrant and
   secured in the Miami Field Office evidence vault. On March 27, 2017, the item was forwarded to CPB.

   IE #16-0166-28053: On February 16, 2017, all items (1-86) were obtained as a result of a search
   warrant and secured in the Miami Field Office evidence vault.

   IE #16-0166-83306: On February 16, 2017, all items (1-13) were obtained as a result of a search
   warrant and subsequently secured in the Miami Field Office evidence vault. On April 4, 2017, items 1-12
   were forwarded to CPB and subsequently sent to and received by the Document Analysis Center on April
   11, 2017.

   IE #16-0166-73900: On February 16, 2017, all items (1-5) were obtained as a result of a search warrant
   and secured in the Miami Field Office evidence vault. On February 16, 2017, item 5 was transferred to IE
   #16-0166-70652. On February 22, 2017, items 1-4 were returned to Anthony Ventrella.

   IE #16-0166-70652: On February 16, 2017, the item contains imaged copies created by SCERS agents
   of devices obtained as a result of a search warrant (items listed on IE #16-0166-73900); items were
   maintained by SCERS agent S. Schillinger and entered into the Miami Field Office evidence vault on
   March 1, 2017.

   IE #16-0166-69860: On February 28, 2017, all items (1-60) were transferred from IE #16-0166-28053
   and secured in the Miami Field Office evidence vault. On March 6, 2017, all items were transferred to
   FCC for testing and analysis.


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   IE #16-0166-99907: On March 3, 2017, all items (1-2) were transerred from IE #15-0319-10358 and
   secured in the Miami Field Office evidence vault.

  5. STATUS OF INVESTIGATION:


 6. SUSPECTS/DEFENDANTS/OTHER:




 7. ATTACHMENTS:
    None




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                                       OFFICE OF CRIMINAL INVESTIGATIONS


                                           SCERS Activity Report (Cont.)

II       Summary of Acquisition (Cont.)
Item # 6: Apple iPhone model # MGC52LL bearing serial # F2LPCAJCG5QJ, 64 GB, Richard Newton, identified as
S1RPC2D1.
(Image Notes: A SCERS laptop and Cellebrite Physical Analyzer were used to image this device on 2-16-17 by SA Schillinger
at the Site 1 location.)

Item # 7: Apple iPhone model # MN5T2LL bearing serial #F2LSRC25HFXW, 128 GB, David Winsauer, identified as
S1RHC1D1.
(Image Notes: A SCERS laptop and Cellebrite Physical Analyzer was used to image data on 2-16-17 by SA Schillinger at the
Site 1 location.)

Item # 8: Apple laptop model # A1466 bearing serial # C02NVDWJG085, 128 GB, identified as S1RFC1D1.
Image Notes: MacQuistion was used to image a 1TB hard drive contained inside. This item was imaged on 2-23-17 by SA
Schillinger at the MIF.

Item # 9: Apple iMac model # A1418 bearing serial #C02QD3Q8GG77, identified as S1RIC3D1.
Image Notes: MacQuistion was used to image a 1TB hard drive contained inside. This item was imaged on 2-23-17 by SA
Schillinger at the MIF.

Item # 10: Seagate external 2 TB hard drive model # SRD00F1 bearing serial # NA97FTKY, identified as S1RPC4D1.
(Image Notes: This item was imaged using a TD2u, serial # 20075105c by SA Schillinger on 2-22-17 at MIF.)

Item # 11: Seagate external 1 TB hard drive model # SRD00F1 bearing serial # NA7R9MYR with handwritten label-Aaron
Singerman Desktop Backup 05/24/16, identified as S1RHC3D1.
(Image Notes: This item was imaged using a TD2u, serial # 20075105c by SA Schillinger on 2-22-17 at MIF.)

Item # 12: Western Digital external 1 TB hard drive model # WDBYNW0010BBK-08 bearing serial # WX71A86K5C6C with
handwritten label-Chris E. laptop backup Jan 9th 2017, identified as S1RHC4D1.
(Image Notes: This item was imaged using a TD2u, serial # 20075105c by SA Schillinger on 2-22-17 at MIF.)

Item # 13: Western Digital external 1 TB hard drive model # WDBUZG0010BBK bearing Serial # WX71EB3CDW46,
identified as S1RHC5D1.
(Image Notes: This item was imaged using a TD2u, serial # 20075105c by SA Schillinger on 2-23-17 at MIF.)

The following items were forensically imaged from the Site 2 location:

Item # 1: MacBook Air model # A 1465 bearing serial # C02QLG3YGFWM, identified as S2RCC1D1.
(Image Notes: MacQuistion was used to image a 128 GB hard drive contained inside. This item was imaged on 2-17-17 by SA
Schillinger at the MIF.

Item # 2: Mac All-in-One model # A 1419 bearing Serial # C02PD57GFY10, identified as S2RAC2D1.
(Image Notes: MacQuistion was used to image a 1 TB hard drive contained inside. This item was imaged on 2-17-17 by SA
Schillinger at the MIF.)

Item # 3: Mac All-in-One model # A1418 bearing Serial # C02MCBDKF8J2, identified as S2RAC3D1.
(Image Notes: MacQuistion was used to image a 1 TB hard drive contained inside. This item was imaged on 2-17-17 by SA
Schillinger at the MIF.)

Item # 4: HP Elite One 800 G1 Touch AiO Business PC bearing Serial # MXL6261V91, identified as S2RAC3D1.



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(Image Notes: The hard drive was removed and identified as a Toshiba 1 TB, serial # 66CHP02LT. This hard drive was
imaged using a TD2u, serial # 200759068 by SA Brian Kriplean on 2-16-17 at MIF.)

Item # 5: Apple iphone, serial # F9CR26FFG5QJ, Anthony Ventrella, 64 GB, identified as S2RAC4D1.
(Image Notes: A SCERS laptop and Cellebrite Physical Analyzer were used to image this device on 2-16-17 by SA Griffin at
the Site 2 location.)

Item # 6: Apple iphone, serial # F9CQW2YNG5QJ, Ashley Ventrella, 64 GB, identified as S2RAC5D1.
(Image Notes: A SCERS laptop and Cellebrite Physical Analyzer were used to image this device on 2-16-17 by SA Griffin at
the Site 2 location.)

All imaged items were visually verified using FTK Imager version 3.4.2.6.

SA Zumwalt took photos from Site 1 and provided them to SA Schillinger at the completion of the search.
SA Kriplean took photos from Site 2 and provided them to SA Schillinger at the completion of the search.

The evidence custodian on scene created an Inventory of Evidence (IE) for both sites. The SCERS items for Site 1 were
documented on IE # 16-0166-19169 and the Site 2 items were documented on IE # 16-0166-73900. These items were later
turned over to the evidence custodian at each site and were transported to MIF on 2-16-17.

*Software and version information used for imaging and capturing data*: MacQuisition version 2016.1, Tableau TD2u version
1.2.0, Access Data FTK Imager 3.4.2.6 and Cellebrite Physical Analyzer version 6.0.0.126.

Once imaging completed, SA Schillinger inventoried and transferred the above IEs to IE # 16-0166-14574 for Site 1 and IE #
16-0166-70652 for Site 2. All seized items were returned to each site location by the SA McCoy and SA Schillinger. See IEs
for more information.
III.    Summary of Analysis

To be completed.

                              Digitally signed by Scott W. Schillinger -S
Scott W. Schillinger          DN: c=US, o=U.S. Government, ou=HHS, ou=FDA,
                              ou=People, 0.9.2342.19200300.100.1.1=2000764669,

-S                            cn=Scott W. Schillinger -S
                              Date: 2017.04.17 11:11:53 -04'00'


Special Agent Digital Signature
                            Digitally signed by Daniel G. Burke -S

Daniel G. Burke -S          DN: c=US, o=U.S. Government, ou=HHS, ou=FDA, ou=People,
                            0.9.2342.19200300.100.1.1=2000344496, cn=Daniel G. Burke -S
                            Date: 2017.04.17 09:15:41 -06'00'



SCERS SOM Digital Signature
                             Digitally signed by Mott W. Heath -S

  Mott W. Heath -S           DN: c=US, o=U.S. Government, ou=HHS, ou=FDA, ou=People,
                             cn=Mott W. Heath -S, 0.9.2342.19200300.100.1.1=2000543134
                             Date: 2017.04.21 13:21:30 -04'00'


Special Agent in Charge Digital Signature

IV.     Attachments(s) and Distribution

None.




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IV.    Attachments(s) and Distribution (Cont.)


Distribution:

Case File: Original
Case Agent: 1cc
SCERS Agent: 1cc




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